Case 4:12-cv-01736 Document 2-3 Filed on 06/08/12 in TXSD Page 1 of 4
Certified Document Number: 50593128 - Page | of 2

Case 4:12-cv-01736 Document 2-3 Filed on 06/08/12 in TXSD Page 2 of 4

Attached isacopy of | PLAINTIFF'S ORIGINAL PETITION

This instrument was filed on the 4th day of November ,20 11
above cited cause number and court. The instrument attached describes the claim against you.

YOU HAVE BEEN SUED; you may employ an attorney. If you or yourattorney do not file a written answer
District Clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration of 20 days after )
served this citation and petition, a default judgment may be taken against you.

TO OFFICER SERVING:

 

This Citation was issued under my hand and seal of said Court, at Houston, Texas, this 7th day.
November ,20 11
HAR ‘my
of My ‘strict ©
neta ,

Issued at request of: : 3:
HARRISON, LAUREN J. io}
440 LOUISIANA #1150 VO
HOUSTON, TX 77002 1 tessa Oe!
Tel: (713) 225-5711 “AO ye S. “ Generated by: CHAMBERS,
Bar Number: 24025840

 

 

OFFICER/AUTHORIZED PERSON RETURN

I received this citation on the day of , 20 , at o'clock .M.,¢

 

the date of delivery thereon, and executed it at :
(street address) (city)

 

in County, Texas on the day of , 20 , at o'clock _

 

by delivering to , by deliver

Pe x!

yr
(the defendant compas ep pA t ii
RTT ACHED

(registered agent, president, or vice-president)

a true copy of this citation, with a copy of the Petition ati
(description of petition, e.g., "Plaintiffs Original”

y

 

 

 

and with accompanying copies of

 

(additional documents, if any, delivered with the petition)
I certify that the facts stated in this return are true by my signature below on the day of
FEE: S$ By:

i Printed Name:
af ae as IG As-Bepaty-for-

Affiagl Other Thar Officer Sayme Ch acon) (pdated-namesetiteofsherifttorcenstahle)

 

 

—(signatuns-oLofficer)...

 

 

On this day, , known to me to be the person whose signatur
appears on the foregoing return, personally appeared. After being by me duly sworn, he/she stated that this citation
executed by him/her in the exact manner recited on the return.

SWORN TO AND SUBSCRIBED BEFORE ME, on this day of , 20

 

Notary Public
N.INT.CITC.P

GEA TAT
at Number: 50593128 - Page 2 of 2

Case 4:12-cv-01736 Document 2-3 Filed on 06/08/12 in TXSD Page 3 of 4

CAUSE NUMBER: 2011-67220

FUNIMATION ENTERTAINMENT

PLAINTIFF IN THE DISTRICT COURT

VS.

HARRIS COUNTY. TEXAS
1S18ST JUDICIAL DISTRICT

A.D. VISION, INC... ET AL.

DEFENDANT

AFFIDAVIT OF SERVICE

BEFORE ME, the undersigned authority. on this day JAYME CHACON, personally appeared before me
and stated under oath as follows:

My name is JAYME CHACON. | am over the age of eighteen (18), | am not a party to this case.
and have no interest in its outcome. | am in all ways competent to make this affidavit and this
affidavit is based on personal knowledge. The facts stated herein are true and correct. My business
address is: 1001 TEXAS AVENUE, SUITE 1250, HOUSTON, TX 77002.

ON 11/8/2011 AT 8:00 A.M. - CITATION CORPORATE WITH PLAINTIFF’S
ORIGINAL PETITION CAME TO HAND.

ON 11/10/2011 AT 10:40 A.M. - THE ABOVE NAMED DOCUMENTS WERE DELIVERED
TO: A D VISION, INC, (A DOMESTIC CORPORATION) C/O ITS REGISTERED
AGENT - JOHN ROBERT LEDFORD, Tl, BY LEAVING WITH THOMAS MICHAEL
BALLASES (ATTORNEY) AT 5847 SAN FELIPE STREET, SUITE 2200, HOUSTON, TX

FURTHER AFFIANT SAYETH NOT.

77056, BY CORPORATE SERVICE.

JAYMPCHACON |
SCH#2516

SEN eu Weey 30 before me by JAYME CHACON appeared on this | ( day of

. 2011 to attest witness my hand and seal of office.

 

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FOR THE STATE OF ye
Case 4:12-cv-01736 Document 2-3 Filed on 06/08/12 in TXSD Page 4 of 4

«
a re

I, Chris Daniel, District Clerk of Harris
County, Texas certify that this is a true and
correct copy of the original record filed and or
recorded in my office, electronically or hard
copy, as it appears on this date.

Witness my official hand and seal of office
this June 1, 2012

 

Certified Document Number: 50593128 Total Pages: 2

Re (Lbuale

Chris Daniel, DISTRICT CLERK
HARRIS COUNTY, TEXAS

In accordance with Texas Government Code 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal

please e-mail support@hcdistrictclerk.com
